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8                         UNITED STATES DISTRICT COURT
9                        CENTRAL DISTRICT OF CALIFORNIA
10                                             Lead Case No.:
     LANGER JUICE COMPANY, INC.,
11                                             2:21-cv-02462-AB (PVCx)
12                        Plaintiff,
                                               Consolidated Case No.:
     v.
13                                             2:21-cv-02524-AB (PVCx)
     ZUCARMEX USA, INC.; DOES 1 to
14   20,
15                                             ORDER DISMISSING CIVIL
                          Defendants.          ACTION IN ITS ENTIRETY
16
     ZUCRUM FOODS LLC, an Arizona
17   limited liability company, doing
     business as ZUCARMEX USA,
18
19                        Plaintiff,

20   v.

21   LANGER JUICE COMPANY, INC., a
     California corporation based in City of
22   Industry, CA; L&A JUICE COMPANY,
23   a California corporation also based in
     City of Industry, CA; DAVID
24   LANGER, a vice-president of the entity
25   Defendants; BRUCE LANGER, a vice-
     President of the entity Defendants,
26   DOES I through XX, inclusive,
27
                          Defendants.
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                                           1.
 Case 2:21-cv-02462-AB-PVC Document 52 Filed 06/24/22 Page 2 of 2 Page ID #:519



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2          The Court has been advised that this action has been settled.
3          The Court therefore ORDERS that this action is hereby DISMISSED without
4    costs and without prejudice to the right, upon good cause shown within eighty (80)
5    days, to re-open the action if settlement is not consummated. This Court retains full
6    jurisdiction over this action, and this Order shall not prejudice any party to this action.
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8    Dated: June 24, 2022                    _______________________________
9                                            HON. ANDRÉ BIROTTE JR.
10                                           UNITED STATES DISTRICT JUDGE
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